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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS




 BARBARA BONE, individually and on behalf Civil Action No.: 3:19-cv-30074-MGM
 of all others similarly situated,

                                Plaintiff,

         v.

 THE YANKEE CANDLE COMPANY, INC.,

                                Defendant.


              STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE
       Pursuant to Rule 4l(a)(l)(A)(ii) of the Federal Rules of Civil Procedure, the parties hereby

stipulate to dismissal of this action with prejudice. All parties shall bear their own fees and costs.




       Isl Philip L. Fraietta                                 Isl Joseph J Krasovec III
        Philip L. Fraietta                                      Joseph J. Krasovec m

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